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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS


STATE OF NEW JERSEY;
COMMONWEALTH OF
MASSACHUSETTS; STATE OF
CALIFORNIA; STATE OF COLORADO;
STATE OF CONNECTICUT; STATE OF
DELAWARE; DISTRICT OF COLUMBIA;
STATE OF HAWAI‘I; STATE OF MAINE;
STATE OF MARYLAND; ATTORNEY
GENERAL DANA NESSEL FOR THE
PEOPLE OF MICHIGAN; STATE OF
MINNESOTA; STATE OF NEVADA;
STATE OF NEW MEXICO; STATE OF
NEW YORK; STATE OF NORTH
CAROLINA; STATE OF RHODE ISLAND;
STATE OF VERMONT; STATE OF
WISCONSIN; and CITY & COUNTY OF
SAN FRANCISCO,

                         Plaintiffs,

   v.                                                     No. 1:25-cv-10139

DONALD J. TRUMP, in his official capacity
as President of the United States; U.S.
DEPARTMENT OF STATE; MARCO
RUBIO, in his official capacity as Secretary
of State; U.S. DEPARTMENT OF
HOMELAND SECURITY; BENJAMINE
HUFFMAN, in his official capacity as
Acting Secretary of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; DOROTHY FINK, in
her official capacity as Acting Secretary of
Health and Human Services; U.S. SOCIAL
SECURITY ADMINISTRATION;
MICHELLE KING, in her official capacity
as Acting Commissioner of U.S. Social
Security Administration, and UNITED
STATES OF AMERICA,

                         Defendants.
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                      PLAINTIFFS’ MOTION FOR A PRELIMINARY
                     INJUNCTION AND FOR EXPEDITED BRIEFING

        Pursuant to Fed. R. Civ. P. 65(a), Plaintiffs hereby move this Court to preliminarily enjoin

Defendants from implementing or enforcing the Executive Order entitled “Protecting the Meaning

and Value of American Citizenship” issued on January 20, 2025, pending the resolution of this

action on its merits. The grounds for this motion are set forth in Plaintiffs’ accompanying

memorandum of law in support of their motion.

        Because the policy articulated in the Order will take effect for all children after February

19, 2025, Plaintiffs respectfully request that the Court expedite briefing on this motion and order

the following briefing schedule, so that the motion may be heard and decided before February 19,

2025:

           Defendants’ Opposition: due January 28, 2025

           Plaintiffs’ Reply: due January 31, 2025




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January 21, 2025                              Respectfully submitted.

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*Application for pro hac vice admission forthcoming




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                              LOCAL RULE 7.1 CERTIFICATE
        I certify that on January 21, 2025, at 9:34 a.m., I contacted Diane Kelleher, Director,
Federal Programs Branch, U.S. Department of Justice (diane.kelleher@usdoj.gov) and Rayford
Farquhar, Chief, Defensive Litigation, Civil Division, U.S. Attorney’s Office for the District of
Massachusetts (rayford.farquhar@usdoj.gov) by email in an attempt to meet and confer regarding
the foregoing request for relief. Plaintiffs have not yet had an opportunity to meet and confer with
Defendants’ counsel, but are proceeding with this filing given the need for prompt relief, as set
forth in the accompanying memorandum of law.

                                                     /s/ Gerard J. Cedrone
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